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MEMO ENDORSED
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                                                                                 ELECTRONICALLY FILED
                                                                                 DOC #:
                                                                                 DATE FILED: 12/20/2017


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                                                       December 19, 2017

      BY ECF

      Honorable Valerie E. Caproni
      United States District Court
      Southern District of New York
      40 Foley Square
      New York, NY 10007

                      Re: United States v. Percoco, et al., 16 Cr. 776 (VEC)

      Dear Judge Caproni:

              We represent Defendant Joseph Percoco in the above-referenced matter. We respectfully
      submit this letter on behalf of Mr. Percoco and defendants Peter Galbraith Kelly, Jr., Steven
      Aiello and Joseph Gerardi regarding the Court’s December 15, 2017 Order (Dkt. 396) (the
      “Order”).

              The Order requires the January Defendants to produce to the government and the Court
      on Friday, December 22, 2017, a list of exhibits the January Defendants intend to use in their
      cases-in-chief. The Court further ordered the January Defendants to produce those exhibits both
      electronically and in tabbed, hard-copy binders containing indices. We have been working
      diligently to comply with the Court’s Order. In that regard, we are prepared to submit on Friday
      an exhibit list containing the exhibits we currently intend to use in our case-in-chief. However,
      we respectfully request one additional week to compile electronic and hard copy binders of those
      exhibits.

              The requested extension is necessary to allow us time to prepare copies of the exhibits in
      the format requested by the Court. Prior to the Court’s Order, we had agreed with the
      government to provide our materials on December 22nd in the same form the government has
      provided its exhibit list to us—by providing a list of exhibit numbers and bate-stamps. As a
      result, while we had begun identifying the materials, we had not yet begun the task of compiling
      electronic and hard copy binders of the exhibits we intend to use in our case-in-chief; rather, our
      primary focus had been the enormous volume of §3500 material and the government’s case-in-
      chief. We have since refocused our efforts to produce the exhibit list in the format ordered, but
      producing those exhibits in that format is a significantly more burdensome task. We have added
      paralegals to the team for the express purpose of compiling binders, who are working around the
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      clock. The process also requires coordination among the January Defendants, who are
      collectively sharing the services of DOAR to stamp defense exhibits.

             DOAR has informed us that completing the stamping process in a time frame that allows
      the January Defendants the time we need to print, organize, and compile the hard copy binders
      before Friday is unlikely. We are also concerned that rushing the process will lead to mistakes.
      Accordingly, while we continue to work to comply with the Court’s Order, we respectfully
      request the Court’s permission to submit a copy of our exhibit list to the Court and the
      government on Friday—in a format consistent with what the Government has already produced
      to us—and to produce hard copies of those exhibits one week later, on December 29, 2017.


                                                        Respectfully submitted,

                                                        /s/ Barry A. Bohrer
                                                        Barry A. Bohrer
                                                        Michael L. Yaeger
                                                        Andrew D. Gladstein
                                                        Abigail F. Coster


Request GRANTED IN PART. No later than December 22, 2017, the January Defendants must
produce to the Government their exhibit lists (with bates numbers or other markings that allow the
Government to easily identify each document) and electronic copies of any exhibits not currently
in the Government's possession. This Order applies to all exhibits that the January Defendants
intend to use in their cases-in-chief. Failure to comply substantially and in good faith with this
Order may result in preclusion of the exhibits at trial.

By December 22, 2017, the January Defendants and the Government must submit to the Court
their exhibit lists electronically, in the format described in the Court's December 15, 2017 Order
(Dkt. 396).

By December 29, 2017, the January Defendants must produce to the Government electronic
copies and, if the Government wishes, hard copies of all exhibits that they intend to use in their
cases-in-chief. By the same date, both the Government and the January Defendants must produce
electronic copies and hard copies (in tabbed binders containing indexes) of case-in-chief exhibits
to the Court.

All other deadlines will remain in effect, and no further extensions will be granted. The Court
notes that the Defendants—not the Court—chose December 22, 2017 as their deadline to produce
exhibits to the Government. (See Dec. 13, 2017 Letter, Dkt. 394, at 2.)
SO ORDERED.
                                      12/20/2017



HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
